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                       EXHIBIT B
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                                                                                                          10/27/2020 2:37 PM
                                                                                Marilyn Burgess - District Clerk Harris County
                                                                                                     Envelope No. 47567097
                                                                                                              By: Lisa Thomas
                                                                                                   Filed: 10/27/2020 2:37 PM

                                     CAUSE NO.

JACQUELINE BOGNEY                                                    IN THE DISTRICT COURT

       Plaintiff

V.                                                                   HARRIS COUNTY,TEXAS

FIESTA MART,L.L.C. d/b/a
FIESTA MART #51

        Defendant.                                                          JUDICIAL DISTRICT


        PLAINTIFF'S ORIGINAL PETITION AND FIRST SET OF DISCOVERY


        Plaintiff Jacqueline Bogney complains of Defendant Fiesta Mart, L.L.C. d/b/a Fiesta Mart

#51 and would respectfully show the Court the following:

                                      Discovery Control Plan

1.      Plaintiff intends to conduct discovery in this matter under Level 3 of the Texas Rules of

Civil Procedure.

                                      Jurisdiction and Venue

2.      The claims asserted arise under the common law of Texas. This Court has jurisdiction and

venue is proper because all or a substantial part of the events or omissions giving rise to the claim

occurred in Harris County, Texas.

                         Statement Regarding Monetary Relief Sought

3.      Pursuant to Texas Rule of Civil Procedure 47(c), Plaintiff seeks monetary relief of over

200,000.00 but not more than $1,000,000.00, including damages of any kind, penalties, costs,

expenses, pre-judgment interest, and attorney's fees and judgment for all other relief to which

Plaintiff is justly entitled. Plaintiff expressly reserves the right to amend this Rule 47 statement of

relief if necessary.

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                                                Parties

4.       Plaintiff Jacqueline Bogney is an individual residing in Harris County, Texas.

5.       Defendant, Fiesta Mart, L.L.C. d/b/a Fiesta Mart #51 (hereinafter,"Defendant"), is a Texas

entity engaged in business in Harris County, Texas. Defendant may be served with process by

serving its registered agent, CT Corporation System, at 1999 Bryan St., Suite 900, Dallas, Texas

75201.

                                                 Facts

6.       This lawsuit is necessary as a result of personal injuries that Plaintiff received on or about

September 13, 2020. At that time, Plaintiff was an invitee at Defendant's store located at 9420

Cullen Blvd., Houston, Texas 77051. Plaintiff was walking through the Defendant's store when

she tripped and fell on a small metal bump sticking out of the floor. The slip and fall caused the

Plaintiff to suffer severe injuries to her right shoulder, right leg, right arm, and other parts of her

body. There were no warning signs present or any other signs of caution were near the area where

the incident occurred. Plaintiff was not aware of the dangerous and defective condition.

7.       At the time of the incident in question, Plaintiff was an invitee of Defendant. Defendant

knew or should have known of the unreasonably dangerous condition and neither corrected nor

warned Plaintiff of it. Plaintiff did not have any knowledge of the dangerous condition and could

not have reasonably been expected to discover it. Defendant either created the condition and/or

tailed to correct the condition or to warn Plaintiff about the dangerous condition, which constituted

negligence, and such negligence was a proximate cause of the occurrence in question and

Plaintiff's resulting injuries.

8.       Plaintiff would show that, based on the above-described facts, Defendant was negligent.

Defendant, as occupiers and/or owners of the premises, with control over the premises, had a duty



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to inform Plaintiff of the dangerous condition and make safe the defective condition existing on

Defendant's premises.

                                              Negligence

9.     Defendant is liable to Plaintiff under the theory of premises liability and negligence based

on the following negligent conduct:

           a. Failure to maintain the premises, including floor and walkways, in a reasonably
              safe condition;

           b. Failure to inspect the premises where the dangerous condition existed;

           c. Failure to correct the condition by taking reasonable measures to safeguard persons
              who entered the premises;

           d. Failure to inform Plaintiff of the dangerous condition existing on the premises; and

           e. Other acts deemed negligent.

1 0.   Each of the foregoing negligent acts and/or omissions, whether taken singularly or in any

combination, was a proximate cause of Plaintiff's injuries and damages that are described below.

11     Defendant was also negligent in that it failed to act as reasonably prudent premise owner

would act in the same or similar situation.

                                              Damages

1 2.   As a result of these acts or omissions, Plaintiff sustained damages recognizable by law.

1 3.   By virtue of the actions and conduct of the Defendant set forth above, Plaintiff was

seriously injured and is entitled to recover the following damages:

                  a. Past and future medical expenses;

                   b. Past and future pain, suffering and mental anguish;

                  c. Past and future physical impairment;

                  d. Past and future physical disfigurement; and



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                   e. Past lost wages and future loss of earning capacity.

1 4.    By reason of the above, Plaintiff is entitled to recover damages from the Defendant in an

amount within the jurisdictional limits of this Court, as well as pre- and post-judgment interest.

                                      Request for Disclosure

1 5.    Pursuant to Rule 194, Tex. R. Civ. P., Plaintiff requests that Defendant discloses, within

fifty days of this request, the information or materials described in Texas Rule of Civil Procedure

1 94.2(a)-(1).

                                         Other Discovery

1 6.    Plaintiff refers you to the attached Request for Admissions, Interrogatories, and Request

for Production and notifies you that a response is required within 50 days of service of these

requests.

                                        Rule 193.7 Notice

1 7.    Plaintiff hereby gives actual notice to Defendant that any and all documents produced may

be used against Defendant at any pretrial proceeding and/or at trial of this matter without the

necessity of authenticating the documents.

                                              Prayer

        Plaintiff prays that these citations issue and be served upon Defendant in a form and manner

prescribed by law, requiring that Defendant appear and answer, and that, upon final hearing,

Plaintiff has judgment against Defendant in a total sum in excess of the minimum jurisdictional

limits of this Court, plus pre-judgment and postjudgment interests, all costs of Court, and all such

other and future relief, to which she may be justly entitled.



                                                     [Signature block on next page]



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                                       Respectfully submitted,

                                       DASPIT LAW FIRM,PLLC

                                       /s/Joseph Milensky
                                       Joseph Milensky
                                       Texas State Bar No. 241 18231
                                       440 Louisiana Street, Suite 1400
                                       Houston, Texas 77002
                                       Telephone:(713) 322-4878
                                       Facsimile:(713) 587-9086
                                       Email: e-service@daspitlaw.com

                                       ATTORNEY FOR PLAINTIFF




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                                                                               Marilyn Burgess - District Clerk Harris County
                                                                                                    Envelope No. 48034415
                                                                                                          By: SIMONE MILLS
                                                                                                Filed: 11/12/2020 11:31 AM

                                     CAUSE NO. 202069009

BOGNEY, JACQUELINE                               §         IN THE DISTRICT COURT OF
     Plaintiff,                                  §
                                                 §
vs.                                              §         HARRIS COUNTY, TEXAS
FIESTA MART LLC (D/B/A FIESTA                    §
MART #51)                                        §
      Defendants.                                §
                                                 §         164TH JUDICIAL DISTRICT

     DEFENDANT FIESTA MART LLC (D/B/A FIESTA MART #51)’S ORIGINAL
                             ANSWER

TO THE HONORABLE JUDGE OF SAID COURT:

        Defendant FIESTA MART LLC (D/B/A FIESTA MART #51), files this Original

Answer to Plaintiff’s Original Petition (“Petition”), and in support thereof, would respectfully

show the Court the following:

                                       I.   General Denial

        1.      Under Rule 92 of the Texas Rules of Civil Procedure, Defendant generally denies

each and every allegation made against Defendant in Plaintiff’s Petition.

                                   II. Affirmative Defenses

        2.      Defendant asserts the affirmative defense of contributory negligence. The

negligence of Plaintiff caused or contributed to Plaintiff’s injures so that the claims are barred or,

in the alternative, must be reduced in accordance with the relative degree of Plaintiff’s own

negligence. Defendant requests the trier of fact to determine Plaintiff’s liability and percentage of

responsibility pursuant to Texas Civil Practice & Remedies Code section 33.003.

        3.      Defendant is entitled to all caps and limitations on damages pursuant to the Texas

Civil Practice & Remedies Code.




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        4.      Defendant alleges that Plaintiff’s injuries and/or damages were caused by an

intervening event for which Defendant has no liability.

        5.      Defendant affirmatively pleads that Plaintiff’s injuries were caused by the actions

or inactions of parties not under Defendant’ control.

        6.      Defendant affirmatively pleads the defense set forth in Texas Civil Practice and

Remedies Code Section 18.091, requiring Plaintiff to prove Plaintiff’s loss of earning, loss of

contributions of a pecuniary value, and/or loss of earning capacity in the form of a net loss after

reduction for income tax payments or unpaid tax liability on said loss or earning claim pursuant

to any federal income tax law.

        7.      To the extent that Plaintiff’s medical expenses exceed the amount actually paid on

Plaintiff’s behalf to Plaintiff’s medical providers, Defendant asserts the statutory defense set

forth in Section 41.0105 of the Texas Civil Practice and Remedies Code. Thus, recovery of

Plaintiff’s medical or health care expenses is limited to the amount actually paid or incurred by

or on behalf of Plaintiff.

        8.      Plaintiff’s claims for pre-judgment interest are limited by the dates and amounts

set forth in Section 304.104 of the Texas Finance Code and Section 41.007 of the Texas Civil

Practice & Remedies Code.

                                      III. Jury Demand

        9.      Defendant hereby exercises its rights to demand a trial by jury under Rule 216 of

the Texas Rules of Civil Procedure on all issues triable by a jury.

                                  IV. Request for Disclosure

        10.     Pursuant to Rule 194 of the Texas Rules of Civil Procedure, Plaintiff is requested

to disclose, within thirty days of service of this request, the information or material described in


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Rule 194.2(a)-(l) and the documents described in Rule 194.4 of the Texas Rules of Civil

Procedure.

                                          V.    Prayer

        FOR THESE REASONS, Defendant FIESTA MART LLC (D/B/A FIESTA MART #51),

respectfully prays that the Court enter a judgment that:

        1.      Dismisses all claims against Defendant FIESTA MART LLC (D/B/A FIESTA

       MART #51)and order that Plaintiff takes nothing by reason of Plaintiff’s allegations.

        2.      Orders that Defendant recover all costs incurred in defense of Plaintiff’s claims,

       and that Defendant’ judgment against Plaintiff include the following:

             a. Costs of suit; and

             b. Such other and further relief, general and special, at law or in equity, to which

                Defendant may be justly entitled.

                                               Respectfully submitted,
                                               MEHAFFYWEBER, P.C.

                                               By:/s/Maryalyce W. Cox
                                               Maryalyce W. Cox
                                               State Bar No. 24009203
                                               One Allen Center
                                               500 Dallas, Suite 2800
                                               Houston, Texas 77002
                                               Telephone - (713) 655-1200
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                                               maryalycecox@mehaffyweber.com

                                               ATTORNEYS FOR DEFENDANT
                                               FIESTA MART LLC




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                                CERTIFICATE OF SERVICE

        This will certify that a copy of the foregoing document was furnished to counsel for
Plaintiff on November 12, 2020, pursuant to the Texas Rules of Civil Procedure.


                                             Maryalyce W. Cox
                                             Maryalyce W. Cox




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HOULITIGATION:1721503.1
